            Case 3:16-cv-02938-JAG Document 96 Filed 07/02/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

                                                       Civil No. 16-02938
 BAUTISTA REO PR CORP.,

                      Plaintiff,
                                                       Re:
                          v.

 RUGAM       CORPORATION,    MORA COLLECTION OF MONIES;
                                   FORECLOSURE OF MORTGAGES
 DEVELOPMENT          CORPORATION, AND OTHER COLLATERAL
 ALEJANDRO RUBÍ CINTRÓN, HIS WIFE
 MARIEL MARXUACH TORRÓS, AND THE
 LEGAL CONJUGAL PARTNERSHIP RUBÍ-
 MARXUACH, CLEOFE RUBÍ GONZÁLEZ,
 HIS WIFE MORAIMA CINTRÓN ÁVILES,
 AND     THE    LEGAL     CONJUGAL
 PARTNERSHIP RUBÍ-CINTRÓN.

                    Defendants.

    INFORMATIVE MOTION REGARDING COMPLIANCE WITH 28 U.S.C. § 2002

TO THE HONORABLE COURT:

       COMES NOW plaintiff, BAUTISTA REO PR, CORP, through the undersigned legal

counsel and respectfully alleges, states, and prays that:

       1.       The judicial sales of the property subject in the instant case are scheduled to be held

on July 2, 9 and 16, 2021. Attached is the Notice of Sale issued on June 2, 2021. See, Exhibit A.

       2.       In compliance with 28 U.S.C. § 2002, the Notice of Sale was published once a week

for four (4) weeks prior to the sale in El Nuevo Día, a newspaper regularly issued and of general

circulation, on the following dates: June 9, 16, 23, and 30, 2021. Attached is an affidavit from the

newspaper and a copy of the clipping as evidence of the publication. See, Exhibit B.

       3.       The Notice of Sale of the Property was posted in three public places in the

municipality of San Juan (including at the U. S. District Court for the District of Puerto Rico in
            Case 3:16-cv-02938-JAG Document 96 Filed 07/02/21 Page 2 of 2




the municipality of San Juan), two public places in the municipality of Juncos (where the Property

is located), and three public places in the municipality of Guaynabo, where the sale will be held.

Attached is a statement under penalty of perjury from July 1, 2021, as evidence of the posting of

said Notice of Sale. See, Exhibit C.

       4.       On June 14, 2021, the Notice of Sale was also notified by certified mail to the

defendants, and all interested parties. See, evidence of the notification attached as Exhibit D.

        WHEREFORE, BAUTISTA REO PR.CORP, respectfully requests that this Court

 take notice of the above for all pertinent purposes.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico this 2nd day of July 2021.

        I hereby certify that on this same date I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will send notifications of such filling to

 the parties of record.


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